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UNITED STATES DIS'I`RICT C()URT
FOR THE I)ISTRICT ()F VERMONT

 

COMMUNICATIONS CO., INC.

Defendant and Counterclaim
Plaintiff

)
MYWEBGROCER, lNC. )
)
Plaintil"t` and Counterclaim )
Defendant )
)
v. ) Civil Action No. 51 16-cv-00310-gwe
)
ADLIFE MARKETING & )
)
)
)
)
)

 

ANSWER, AFFIRMATIVE DEFENSES AND COUN’I`ERCLAIM

Det`endant .Adl.ife Marketing & Communications Co., Inc. (“Adlife”) hereby submits its
Answer, Aftirmative Defenses and Counterelaim to the First Arnended Complaint (tlie
“Amended Complaint”) in this matter filed by Plaintiff MyWebGrocer, lnc. (“MyWebGrocer”).

ANSWER
In response to the numbered paragraphs of the Complaint, Adlife states as follows:
Nature of Action

l. Adlife admits that the Amended Complaint purports to set forth claims for
declaratory judgment under the U.S. Copyright Act and a preliminary and permanent injunction
under the Vermont Consumer Protection Act. Exoept as expressly admitted, Adlife denies the
allegations in paragraph l.

mass
2` Adlife lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 2.

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3. Adlife admits the allegations in paragraph 3.
Jurisdiction and Venue

4. Adlife admits the allegations in paragraph 4.

5. The allegations in paragraph 5 set forth legal conclusions to which no response is
required To the extent that a response is required, Adlife lacks knowledge or information
sufficient to form a beliefas to the truth of the allegations in paragraph 5 and therefore denies
them.

6w Adlife denies the allegations in paragraph 6.

"i'. Adlife admits that it conducts business in Vermont. Except as expressly admitted,
Adlife denies the allegations in paragraph 7.

E_W

8. Adlife lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraph 8 and therefore denies thein.

9. Adlife lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraph 9 and therefore denies them.

l(). Adlife admits that MyWebGrocer used a photograph of brisket with roasted
vegetables (the “Brisket Photograph”). Except as admitted above, Adlife denies the allegations
in paragraph l(). Adlife further answers that Adlife owns the Brisket Photograph, registered as
part ot` a collection of images titled “ADLIFE Collection 0731 16” under Registration l\lurnber
VA0002012581.

l l. Adlife admits that it sent the communications attached to the Amended Cornplaint

as Exhibit A. Adlife denies the allegations of paragraph l l to the extent paragraph ll seeks to

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characterize the document Adlife otherwise lacks knowledge or information sufficient to form a
belief as to the truth of the allegations in paragraph ll and therefore denies them.

12. Adlife denies the allegations in paragraph 12.

l3. Adlif`e admits that MyWebGrocer emailed Adlife on August l9, 2016. Adlife
further admits that l\/lyWebGrocer has represented to Adlife that it took the Brisket Photograph
down Adlife lacks knowledge or information sufficient to form a belief as to the truth of the
allegations in paragraph 13, particularly with respect to the timing of the actions MyWebGrocer
alleges that it took and therefore denies them. Adlife further answers that, to the extent that
MyWebGrocer endeavors to characterize the communication, Adlife denies the allegations in
paragraph l3.

l4. Adlife admits that it owns Copyright Registration No. VAOOOZOIZSSl, effective
August 5, 2016. Except as admitted above, Adlife denies the allegations in paragraph 14.
Further answering, Adlife states that subsequent to the filing of this action, Adlife has provided
to l\/lyWebGrocer proof that the registration covers the Brisket Photograph and that
l\/lyWebGrocer nevertheless continues to deny infringement
15. Adlife admits that l\/lyWebGrocer sent a letter dated September 14, 2016 attached
to the Amended Complaint as Exhibit B. To the extent that l\/lyWebGrocer endeavors to
characterize the letter’s contents, Adlife denies the allegations in paragraph 15.

16. Adlife admits that it responded to MyWebGroc-er on September 14, 2016. To the
extent that MyWebGrocer endeavors to characterize the communication, Adlife denies the
allegations in paragraph 16. Adlife further answers that Adlife has since provided

l\/lyWebGrocer with proof of registration and deposit materials for each of the images at issue.

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17. Adlife admits that l\/lyWebGrocer, through its counselJ sent a letter on September
16, 2016. To the extent that MyWebGrocer endeavors to characterize the letter’s contents,
Adlife denies the allegations in paragraph 17.

18. Adlife admits the allegations in paragraph 18.

`19. Adlife admits that it sent a Copyright infringement Notice regarding the use of an
image of a tuna salad sandwich (the “Tuna Sandwich Photograph”) on September 19, 2016,
attached to the Amended Complaint as Exhibit C. Except as admitted above, Adlife lacks
knowledge or information sufficient to form a belief as to the truth of the allegations in
paragraph 19 and therefore denies thern. Adlife further answers that it owns the Tuna Sandwich
Photograph, registered as part of a collection of images titled “ADLlFE-COLLECTION-

09 l 5 l 6” under Registration Number VA0002017741.

20. Adli fe admits that on November 1, 2016, it identified three additional images
owned by Adlife that l\/lyWebGrocer had used without permissionl Adlife admits that these
images were an image of a turkey and ham wrap (the “Turkey Wrap Photograph”), an image of a
sausage and pasta dish (the “Sausage Pasta Photograph”), and an image of pork ribs (the “Pork
Rib Photograph”) (collectively, the “Accused linages”). To the extent that MyWebGrocer
endeavors to characterize the communication, Adlife denies the allegations in paragraph 20.
Adlife further answers that it owns each of the aforementioned images, and that the Turkey Wrap
Photograph is registered as part of a collection of images titled “ADLIFE-COLLECTION-
091516” under Registration Number VA0002017741; the Sausage Pasta Photograph is registered
as part of a collection of images titled “ADLIFE-COI_,LECT 101\]-101216” under Registration
Number VA0002019921; and the Pork Rib photograph is registered as part of a collection of

images titled “ADLIFE-COLLECTION-l 01916-K” under Registration Number VA0002020'/'35.

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21. Adlife admits that on November 2, counsel for l\/lyWebGrocer requested
Certificates of Registration and corresponding deposit materials for each ofthe Accused images,
as well as certain licensing information pertaining to the images. Except as admitted above,
Adlife denies the allegations in paragraph 21. Further answering, Adlife supplied Certificates of
Registration and corresponding deposit material to MyWebGrocer subsequent to the filing of this
action_

22. Adlife denies the allegations in paragraph 22.

23. Adlife denies the allegations in paragraph 23.

24. Adlife admits that on November 8, it sent an email to counsel for MyWebGrocer,
attached to the Amended Complaint as Exhibit D. To the extent that MyWebGrocer endeavors
to characterize its contents, Adlife denies the allegations in paragraph 24.

25. Adlife admits that on November 18, it sent an email to counsel for
MyWebGrocer, attached to the Arnended Complaint as Exhibit E. To the extent that
l\/IyWebGrocer endeavors to characterize its contents, Adlife denies the allegations in paragraph
25.

26. Adlife admits that on l\lovember 18, l\/lyWebGrocer filed a complaint against
Adlife seeking declaratory judgment Adlife otherwise denies the allegations in paragraph 26.

27. Adlife lacks knowledge or information sufficient to form a belief as to the truth of
the allegations in paragraph 27 and therefore denies them.

28. Adlife admits that MyWebGrocer provided Adlife with an email dated November
28, purporting to show licensing information for the Brisket Photograph and the Tuna Sandwicli

Photograph provided by iStock. Except as admitted above, Adlife lacks knowledge or

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information sufficient to form a belief as to the truth of the allegations in paragraph 28 and
therefore denies them.

29. Adlife admits that on December 1, MyWebGrocer communicated with Adlife
through its counsel To the extent that MyWebGrocer endeavors to characterize the
communication, Adlife denies the allegations in paragraph 29.

30. Adlife admits that on December 12, Adlife provided copyright registration
certificates and corresponding deposit materials for the images at issue. To the extent that
MyWebGrocer endeavors to characterize the communication, Adlife denies the allegations in
paragraph 30.

31. Adlife admits that on December 13, MyWebGrocer provided information
pertaining to purported iStock licenses for the Brisket Photograph and the Tuna Sandwich
Photograph. To the extent that l\/lyWebGrocer endeavors to characterize the communication,
Adlife denies the allegations in paragraph 31. Adlife further answers that l\/lyWebGrocer has not
provided information concerning the scope of any licenses obtained

32. Adlil"e admits that in its Answer to the Complaint filed by l\/_lyWebGrocer, Adlife
stated that Adlife had licensed some of its images to iStock and Creative Outlet in the past.
Except as otherwise admitted, Adlife denies the allegations in paragraph 32.

33. Adlife admits that it sends notices to certain third parties it identifies as using
Adlife’s copyrighted materials and otherwise denies the allegations in paragraph 33.

34. Adlife admits that the notices attached to the Amended Complaint as Exhibits A
and C include an attached invoice for the acts of copyright infringement To the extent that
l\/.[yWebGrocer endeavors to characterize the contents of the documents, Adlife denies the

allegations in paragraph 34.

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Adlife denies the allegations in paragraph 35.
Adlife denies the allegations in paragraph 36.
Adlife denies the allegations in paragraph 3','.

This paragraph contains allegations to which no response is required To the

extent a response is required, Adlife incorporates by reference its responses to paragraphs 1-37'.

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is required

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is required

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is required

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is required

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43.

is required

43.

COUNT I
Declaratorv .Iudgment of No Copvright Infringement

The allegations in paragraph 39 set forth legal conclusions to which no response

To the extent that a response is required, Adlife admits the allegations in paragraph

The allegations in paragraph 40 set forth legal conclusions to which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 41 set forth legal conclusions to which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 42 set forth legal conclusions to which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 43 set forth legal conclusions to Which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

44

is required

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COUNT ll
Violation of Consumer Protection Statute

The allegations in paragraph 44 set forth legal conclusions to which no response

To the extent that a response is required, Adlife admits that § 2453 of the Vermont

Consumer Protection Statute states that “unfair or deceptive acts or practices in commerce” are

unlawful

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is required

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is required
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is required

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is required

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is required
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The allegations in paragraph 45 set forth legal conclusions to which no response

'l`o the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 46 set forth legal conclusions to which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 47` set forth legal conclusions to which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 48 set forth legal conclusions to which no response

Tc the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 49 set forth legal conclusions to which no response

To the extent that a response is required, Adlife denies the allegations in paragraph

The allegations in paragraph 50 set forth legal conclusions to which no response

'fo the extent that a response is required, Adlife denies the allegations in paragraph

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51. The allegations in paragraph 51 set forth legal conclusions to which no response
is required To the extent that a response is required, Adlife denies the allegations in paragraph
51.

52. The allegations in paragraph 52 set forth legal conclusions to which no response
is required To the extent that a response is required, Adlife denies the allegations in paragraph
52.

53. The allegations in paragraph 53 set forth legal conclusions to which no response
is required To the extent that a response is required, Adlife denies the allegations in paragraph
53.

AFFlRl\/IATIVE DEFENSES
FlRST AFFIRMATIVE DEFENSE
The Cnmplaint fails to state a claim upon which relief can be granted
SECOND AFF]_RMATIVE DEFENSE

Plaintiff’s claim that there is a justiciable controversy as to whether the Accused images
infringe any valid and enforceable copyright owned by Adlife fails, because Adlife possesses and
has provided Certific-ates of Registration and deposit material for each of the images.

THIRD AFFI__RMATIVE DEFENSE
Plaintiff’s claim is barred in whole or in part by the doctrine of estoppel
FOURTH AFFIRMATIVE DEFENSE
Plaintiff’s claim is barred in whole or in part by the doctrine of unclean hands.
FIFTH AFF'IRMATIVE DEFENSE

Plaintiff’ s claim is barred in whole or in part by the doctrine of unjust enrichment

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SIXTH AFFIRMATIVE DjEFENSE
Plaintiff’ s claim is barred in whole or in part to the extent Plaintiff seeks to have the court

issue an order on behalf of l\/lyWebGrocer customers who are not parties to the action.

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COUNTERCLAIM

Counterclaim PlaintiffAdlife for its Counterclaim against Counterclaim Defendant

l\/lyWebGrocer states as follows:
Nature of the Action

l. By this action, Adlife seeks to enforce its rights as copyright holder of certain
photographs of food items that were included on supermarket websites without appropriate
permission l:or over twenty years, Adlife has been in the business of creating product circulars
for various grocers in the United States. As part of that business, Adlife photographed food
items for inclusion in the circulars. Over an approximately twenty year period, Adlife has, at
considerable time, effort and expense, created a library of approximately 25,000 images of food
items. Adlife currently offers those images through a website it owns called
PreparedFoodPhotos.com. Adlife has registered copyrights on the five (5) images cun'ently at
issue in this dispute

2. Upon information and belief, l\/IyWebGrocer is in the business ofproviding e-
comrnerce support for grocers. According to its own website, this support includes, among other
things, distribution and management of images of products grocers put on their websites. Upon
information and belief, as part of that service, l\/lyWebGrocer supplied to certain of its customer
grocery stores the five (5) Adlife images at issue here. Those grocers, in turn, published those
images on their websites.

3. After Adlife notified the grocery stores using the first image identified, the
Brisket Photograph, of Adlife’s rights to the image, MyWebGrocer contacted Adlife regarding
the image and admitted that l\/lyWebGrocer was the entity that had supplied the Adlife image to

the grocery stores. Adlife had not provided to l\/lyWebGrocer a license to use and distribute the

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image in the way that MyWebGrocer used and distributed the image. l\/lyWebGrocer claimed
that it had acquired the rights to use the image from an entity that it had acquired in 2003 called
NeXpansion, lnc. (“NeXpansion”). ln a good faith effort to resolve the dispute, Adlife requested
that l\/lyWebGrocer provide evidence that MyWebGrocer had rights to use and distribute the
Brisket Photograph and four (4) other subsequently identified images in the manner in which it
had done with the grocers.

4. As discussed in more detail below with respect to the five (5) images,
l\/lyWebGrocer has, to date, only been able to provide possible licensing of the photos for two (2)
of the images. ln both cases, the possible licensing information provided post-dates
l\/[yWebGrocer’s acquisition of NeXpansion by a period of years. With regard to the Brisket
Photograph, this is contrary to both MyWebGrocer’s representations to Adlife and the
allegations set forth in paragraph l 1 of the Cornplaint filed by 'MyWebGrocer. As to the
remaining three (3) images, l\/lyWebGrocer has not provided Adlife with evidence showing that
MyWebGrocer has acquired the rights from any other source to use the images in the manner in
which it used Adlife’s images.

5. Adlife is currently researching whether it is possible that any of the three (3)
remaining images were licensed to other entities through which l\/[yWebGrocer could have
obtained a license. Although in the past Adlife has provided limited licenses to certain images to
third party distributors, as to at least one (`l) of the three (3) images, Adlife has not provided such
a license to a third party distributor. At this time, Adlife, therefore, seeks to enforce its rights as
copyright holder in the one (1) image to which it has not provided a license to third party

distributors pursuant to the Copyright Act of the United States, 17 U.S.C. § 101 et seg. Adlife

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seeks damages for the past infringement and injunctive relief prohibiting MyWebGrocer from
further infringing on Adlife’s copyrighted works.

6. With regard to the other four (4) images at issue, Adlife is working to determine
to what extent, if at all, l\/IyWebGrocer could have obtained a valid license to use the images as it
has. Adlife is bringing this counterclaim in this form now because l\/inebGrocer has refused a

request for additional time to evaluate l\/inebGroce-r’s claim to have licenses

PLU€S
7. Adlife is a Rhode lsland corporation Adlife’s principal place of business is at 38
Church St., Pawtucket, Rhode lsland
8. Upon information and belief, l\/IyWebGrocer is a Vermont corporation with its

principal place of business at 20 Winooski Falls Way, Winooski, Vermont 05404.
Jurisdiction and Venue

9. This court has subject matter jurisdiction over this copyright infringement action
pursuant to 28 U.S.C. §§ 1331 and 1338(21).

10. Personal jurisdiction exists over MyWebGrocer because, among other things, it is
domiciled in \/errnont.

ll. Venue is appropriate in this district pursuant to 28 U.S.C. §§ 1391 and 1400.

General Allegations

12. As discussed above, Adlife has been in the business of providing printed circulars
to grocery stores for over twenty years. Those circulars, which typically are distributed weekly
to grocers, contain images of food items, most of which Adlife (and its predecessors) created

Over time, Adlife created a library of approximately 25_,000 food images. Adlife currently

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makes many of those images available through a website it owns called

PreparedFoodPhotos.com, which is a subscription service.

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13. Adlife has registered, and continues to register, certain collections of those images

with the U.S. Copyright Office. lncluded in those registrations are the following images:

El.

The Brisket Photograph: registered under the title “BeetBrisketOOl” as
part ofa collection titled “ADLlFE Collection 0'!31 16” with the
Registration l\lurnber VA0002012581, effective August 5, 2016.

The Tuna Sandwich Photograph: registered under the title
"SandwichTurraSaladOOl” as part of a collection titled “ADLIFE-
COLL.ECTION-091 5 l6” with the Registration Number
VA0002017741, effective September 20, 2016.

The Turkey Wrap Photograph: registered under the title
“WrapTurkeyl~lamOOl” as part of a collection titled “ADLlFE-
COLLECTION-O91516” with the Registration Number'
VA0002017741, effective September 20, 2016.

The Sausage Pasta Photograph: registered under the title
“SausagePastaOOl” as part of a collection titled “ADLIFE-
COLLECTlON~101216” with the Registration Number
VA0002019921, effective October 14, 2016.

The Pork Rib Photograph: registered under the title
“PorkRibBabyBackOOé” as part ofa collection titled “ADUFE-
COLLECTION- 10 l 916-K" with the jRegistration Number
VA0002020735, effective October 23, 2016.

14. As discussed above, upon information and belief, MyWebGrocer is in the

business of providing ecornmerce support for grocers. According to MyWebGrocer’s website,

this includes overall creation and management of grocers’ econrmerce needs (e.g., online

platforms for customers to view and order groceries). l\/Iore specifically, l\/lyWebGroccr allows

grocers “to capitalize on the digital grocery market opportunity with the only complete Digital

Experience Platform.” As described on l\/lyWebGrocer's website, this platform is a “completely

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integrated” and “[r]eady out of the box” digital platform that can be both “modular” and
“customizable” for grocers to “attract, engage, transact with and retain [] shoppers.”

15. As described on its website, l\/lyWebGrocer supplies image management as part
ofthe Digital Experience Platform. Upon information and belief, the Digital Experience
Platform, as described on MyWebGrocer‘s own website, includes the use of templates upon
which the images are loaded and then displayed on the grocers’ websites.

16. ln 2016, Adlife identified each ofthese five (5) images as appearing on grocers’
websites. l\/lyWebGrocer and Adlife eventually communicated regarding the images.
l\/[yWebGrocer denied infringement and claimed it had acquired the rights, at least to the
Brisket Photograph, through the acquisition of NeXpansion in 2003.

17. Eventually, following the filing of this lawsuit, Adlife, through counsel,
requested evidence from MyWebGrocer, through counsel, that l\/lyWebGrocer had acquired a
license to use the images. l\/IyWebGrocer, though counsel, provided a communication
purporting to show that l\/lyWebGrocer had acquired a license from iStock, which is part of
Getty lmages, for two of the images f the Brisket Photograph and the Tuna Sandwich
Photograph MyWebGrocer' has, thus far, been unable to provide evidence of a license to any of
the other three (3) images.

18. Adlife has, in the past, provided certain ofits images to iStock. Adlife has also
provided certain of its images to another entity, l\/lultiAd, which is now known as Creative
Outlet.

19. Since the filing of the Declaratory Judgment Action, wherein l\/lyWebGrocer

claims that it has acquired the rights to at least one (l) of the images from NeXpansion, Adlife

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has undertaken efforts to determine whether any of the images may have been licensed to
NeXpansion or l\/lyWebGrocer. This process is ongoing

20. At this point, however, Adlife has been unable to locate a license agreement of
any kind with NeXpansion or l\/lyWebGrocer with respect to three (3) of the images. Moreover,
l\/lyWebGrocer has not provided evidence of such a license agreement with Adlife. ln addition,
Adlife has determined that at least one of the images, the Pork Rib Photograph, was not
provided to either iStock or MultiAd, so no rights could have passed to NeXpansion or
l\/IyWebGrocer directly or indirectly through those entities

COUNT I

21. Adlife hereby incorporates and repeats the allegations contained in paragraphs l-
20 as iffully set forth herein.

22. Through its conduct, MyWebGrocer has infringed Adlife’s copyright in the Pork
Rib Photograph in violation ol_`Sections 106 and 501 of the Copyright Act, 17` U.S.C. §§ 106
and 501 .

23. As a direct and proximate result of such infringement, Adlife is entitled to
damages, including statutory damages if appropriate, in an amount to be proven at trial.

PRAYER FOR RELIEF

WHEREFORE, Adlife prays for relief as follows:

1. Entry of judgment finding that MyWebGrocer has infringed Adlife’s copyrighted
irnage, the Pork Rib Photograph.

2. Enjoining l\/lyWebGrocer from further acts of infringement of Adlife's

copyrighted works.

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3. Awarding Adlife such damages in an amount appropriate under the
circumstances
4. Awarding Adlife its costs and reasonable attorney’s fees incurred as a result of

this action.
5. Awarding strch other and further relief as the Court deems just and proper.
JURY DEMAND
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Adlife demands trial by

jury on all claims so properly triable

Respectiiilly submitted,
Adlife l\/larl<eting 8c Communications Co., lnc.

By its attorneys:

/s/ Gregorv P. Howard

Gregory P. Howard

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Dated: March 9, 20117

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Certificate of Service

l hereby certify that this document filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF) and paper copies
will be sent to those indicated as non-registered participants on March 9, 2017.

/s/ Gregorv P. Howard

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